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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7      CHASOM BROWN, et al.,                               Case No. 20-cv-3664-YGR (SVK)
                                   8                      Plaintiffs,                                    20-cv-5146-YGR (SVK)
                                   9                v.                                        ORDER RE UPDATED DISCOVERY
                                                                                              DISPUTE CHARTS
                                  10      GOOGLE LLC,
                                                                                              Re: Calhoun Dkt. No. 499
                                  11                      Defendant.

                                  12      PATRICK CALHOUN, et al.,
Northern District of California
 United States District Court




                                  13                      Plaintiffs,
                                  14                v.
                                  15      GOOGLE LLC,
                                  16                      Defendant.
                                  17             The Court is in receipt of the Calhoun Plaintiffs’ request to file an updated discovery
                                  18   dispute chart and Google’s opposition. Dkt. 499, 500. It is correct that the Court has not called
                                  19   for updated charts in recent months as the Parties in both actions became overly focused on
                                  20   populating the charts in place of robust, good faith meet and confer efforts to resolve disputes.
                                  21   However, the Court is mindful of the close of fact of discovery on March 4, 2022, as well as the
                                  22   Parties’ obligation to continue to resolve disputes without the Court’s assistance. Accordingly, the
                                  23   Court ORDERS as follows:
                                  24   ////
                                  25   ////
                                  26   ////
                                  27   ////
                                  28   ////
                                           Case 4:20-cv-03664-YGR Document 416 Filed 02/22/22 Page 2 of 2




                                   1              •   The moving Party shall provide its portion of the updated discovery dispute chart to

                                   2                  the other side no later than 12 p.m. on Wednesday February 23, 2022.1

                                   3              •   The Parties are to meet and confer, in person2, regarding the presented issues.

                                   4              •   Any remaining issues must be presented to the Court in the form of an updated

                                   5                  chart no later than 12 p.m. on Friday February 25, 2022. Each side may identify

                                   6                  up to three issues of particularly significant concern.

                                   7          At this time the Court will not limit the number of disputes that may be included. The

                                   8   Parties are well aware from past practices that there is nothing to be gained from inundating the

                                   9   Court with a large number of disputes in this technologically complex case. The Court will not do

                                  10   the Parties’ heavy lifting for them and will not rule upon issues where the Parties have failed to

                                  11   negotiate with reason and to consider, and ultimately accept, compromises. The Court will hold a

                                  12   discovery conference on Monday, February 28, 2022, at 1:30 p.m. by video to address certain
Northern District of California
 United States District Court




                                  13   issues raised in the Parties’ submissions.

                                  14          SO ORDERED.

                                  15   Dated: February 22, 2022

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                                                                                                     SUSAN VAN KEULEN
                                  18                                                                 United States Magistrate Judge
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                                         The Parties are reminded to be mindful of this Court’s specific hour deadlines.
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                                  28     The Parties may meet and confer by video conference. Email and/or telephone conferences, by
                                       themselves, are not sufficient.
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